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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 22-61733-CIV-SMITH

 JAMIL HINDI, individually and on
 behalf of all others similarly situated,

         Plaintiff,
 v.

 1-800-FLOWERS.COM, INC.,

       Defendant.
 _______________________________/


                     ORDER SETTING CIVIL TRIAL DATE,
          PRETRIAL DEADLINES, AND REFERRAL TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 January 2, 2024. If the case cannot be tried during the two-week period, it will be re-set for each

 successive trial calendar until it is tried or resolved. The Calendar Call will be held at 9:00 a.m. on

 December 26, 2023. The parties shall adhere to the following schedule:

      1. Joinder of any additional parties and filing of motion to amend the
         pleadings by                                                                  December 9, 2022

      2. Parties shall select a mediator pursuant to Local Rule 16.2 and shall
         schedule a time, date, and place for mediation by                            December 23, 2022

      3. Motion for Class Certification shall be filed by                                 March 10, 2023

      4. Plaintiffs shall disclose experts, expert witness summaries, and
         reports as required by Fed. R. Civ. P. 26(a)(2) by                               March 31, 2023

      5. Defendant(s) shall disclose experts, expert witness summaries, and
         reports as required by Fed. R. Civ. P. 26(a)(2) by                                April 17, 2023

      6. Exchange of rebuttal expert witness summaries and reports as
         required by Fed. R. Civ. P. 26(a)(2) by                                             May 1, 2023
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      7. Written lists containing the names and addresses of all fact
         witnesses intended to be called at trial by                                      June 9, 2023

      8. Fact discovery shall be completed by                                            June 30, 2023

      9. Expert discovery shall be completed by                                          June 30, 2023

      10. Mediation shall be completed by                                                  July 7, 2023

      11. Motion to Decertify Class shall be filed by                                     July 14, 2023

      12. Dispositive motions, including summary judgment and Daubert,
          shall be filed by                                                               July 28, 2023

      13. Deposition designations and counter designations shall be filed by        September 29, 2023

         The parties shall meet and confer prior to submitting the deposition
         designations and counter-designations in a good faith effort to resolve
         objections. Failure to comply with the deadline and the meet and
         confer may result in objections being stricken or other appropriate
         sanctions.

      14. All pretrial motions and memoranda of law, including motions in
          limine, shall be filed by                                                 November 30, 2023

         Prior to filing any motions in limine, the parties shall meet and confer
         in a good faith effort to resolve any issues. If a party has multiple
         motions in limine, they shall be filed as a single omnibus motion. All
         motions in limine and the responses shall be limited to one page per
         issue. No replies shall be permitted.

      15. Joint pretrial stipulation, proposed joint jury instructions, proposed
          joint verdict form, and/or proposed findings of fact and conclusions
          of law shall be filed by                                                  November 30, 2023

         When the parties cannot agree on specific jury instructions, the
         submitted instructions shall clearly indicate which party has proposed
         the specific instruction.



                            REFERRAL TO MAGISTRATE JUDGE
        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 1 of the Magistrate Rules of the Southern

 District of Florida, all motions for attorney’s fees, costs, and sanctions, plus all non-dispositive

 pretrial motions (PTN) are REFERRED to Magistrate Judge Reid for appropriate resolution.
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 NOTICE OF SETTLEMENT

        If the parties settle this matter before trial, the parties must notify the Court no later than 3

 p.m. on the Friday before trial is set to commence in order to avoid paying the costs of the jury.

 If the parties do not notify the Court of settlement by that time, the parties shall jointly reimburse

 the Court for the cost of the jury.

                                           *       *       *

 Failure to comply with any provision of this order may result in the imposition of sanctions.


        DONE AND ORDERED in Fort Lauderdale, Florida, this 14th day of November, 2022.



                                                        ___________________________
                                                        RODNEY SMITH
                                                        UNITED STATES DISTRICT JUDGE


 Copies to:
 Counsel of Record
